       Case 2:17-cv-00044-ECM-SMD Document 1 Filed 01/23/17 Page 1 of 7


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA                             )   p C --L        r.i
                               NORTHERN DIVISION
                                                                                    i JN       23                    310
AMBER JERNIGAN and
TAYLOR JERNIGAN,                                                                          D U t iTT              '        If
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                                                                                     L ': rC'T COHR
       Plaintiffs,                                                               -;DDL[ :fRcT o I -                  L\



vs.                                          i   CIVIL ACTION NUMBER:     a-9 -CV- LI)t... W\\\
CITY OF MONTGOMERY, ALABAMA                          JURY DEMAND
and OFFICER JEREMY BROWNING,

       Defendants.

                                         COMPLAINT

       1. This action is brought pursuant to 42 U.S.C.    §   1983. The Court has jurisdiction

of this action under 42 U.S.C.    §   1983, 28 U.S.C. § 1343 and 1331. This action arises

under the Fourth a.nd Fourteenth Amendments to the U.S. Constitution and under the

Civil Rights of 1871, 42 U.S.C.   §    1983 and 1988.

                                           PARTIES

       2 Plaintiffs venue is proper under 28 U.S.C.       §   1391 that the Defendants and

Plaintiffs resided and the cause of action arise in the Middle District of Alabama, Northern

Division.

       3. Amber Jernigan brings this action as the Plaintiff. Ms. Jernigan is an American

female citizen of the State of Alabama and a resident of Montgomery County, Alabama.

       4. Taylor Jernigan brings this action as the Plaintiff. Mr. Jernigan is an American

male citizen of the State of Alabama and a resident of Montgomery County, Alabama.
      Case 2:17-cv-00044-ECM-SMD Document 1 Filed 01/23/17 Page 2 of 7



       5. The City of Montgomery, Alabama is a municipal corporation existing by virtue

of the laws of the State of Alabama, and as a body corporate subject to suit in this court.

       6. Officer Jeremy Browing is a police officer employed by the City of Montgomery

and was so employed on January 23, 2016.

                                FACTUAL ALLEGATIONS

       7. The Plaintiff incorporates by reference, as if fully set out herein, paragraphs I

through 3 above.

       8. On January 23, 2016, the Plaintiffs were at their home located in the City of

Montgomery with their four year old daughter. At approximately 3:30 p.m. Plaintiff, Taylor

Jernigan (herein referred to as Taylor) was taking a shower and Plaintiff, Amber Jernigan

(hereby referred to as Amber) was in her living room when Officer Browning knocked on

the front door of the Plaintiffs' residence. Amber proceeded to get Taylor and after he

quickly dressed, he answered the front door. The Montgomery police officer Browning

upon ascertaining the name of Taylor informed him that he was under arrest. He then

handcuffed Taylor and place his hands behind his back. Taylor was told by Officer

Browning that he and his wife Amber were under arrest on the charge of harassment

Taylor then asked if someone could come to the house to take control of their 4 year old

child. Officer Browning allowed a grandparent to come to the house.

      Officer Browning came into the home of the Plaintiffs with Taylor handcuffed and

had him sit on the sofa. Plaintiff Amber was allowed to get herself and the minor child
      Case 2:17-cv-00044-ECM-SMD Document 1 Filed 01/23/17 Page 3 of 7


dressed. They returned to the living room and after the great grandfather arrived, Amber

and Taylor were taken outside, handcuffed, and placed in the City of Montgomery police

vehicle which was located in a neighbor's yard. All of the above occurred in the presence

of the Plaintiffs' four year old child.

       T a ylor and Amber both remained with their hands handcuffed behind their backs.

Taylor for one hour and Amber for thirty minutes. During this time, various neighbors,

friends, and business associates observed the Plaintiffs while they were in the

Montgomery police vehicle. The police car was not parked in front of their home, but in

front of their neighbor's home. Once in the vehicle the officer called dispatch. Officer

Browning told the Plaintiffs he had to verify that there was an actual warrant for each of

them. He said that was the way the system worked. Their names and driver's license

photos were on his screen, but he said they had to call the back desk and locate the paper

warrants. He also said there was a question on one of the Plaintiffs. The Plaintiffs sat,

handcuffed in the back of a police car in front of their neighbors, their children and their

clients as Officer Browning checked that they were actually supposed to be in custody.

After approximately 30 minutes he received a radio call saying there were no warrants for

either of them and there was a summons for Taylor. He said he was sorry as he

unshackled their hands, again in front of their neighbors and clients. No paperwork was

ever given or shown; in fact the officer was completely empty handed the entire time.

       9. Plaintiffs suffered damages as a proximate result of these violations that were

caused by a governmental policy and/or custom and/or a failure to adequately train
      Case 2:17-cv-00044-ECM-SMD Document 1 Filed 01/23/17 Page 4 of 7


caused by a deliberate indifference to the Plaintiffs' rights and/or by a deliberate

indifference to these violations. The City of Montgomery failed to properly train its

supervisory police officers. Additionally, the City of Montgomery failed to properly train its

police officers in the procedures to be used in arresting individuals. The City of

Montgomery maintains a policy or custom failing to adequately train its officers. The City

of Montgomery maintains a policy or custom of allowing officers to operate without

adequate training or supervision. Such policies, customs and failures by the City of

Montgomery amounts to violations of 42 U.S.C. § 1983.

       10. At the time of the Plaintiffs' arrest, there was no arrest warrant and no basis in

law or fact for the officer to arrest either Plaintiff. Throughout this event, the Officer

Browning was in uniform and acting on behalf of the City of Montgomery.

       11. Because of the Defendant's unlawful employment practices, policies and/or

customs of the City of Montgomery, the Plaintiffs have been caused to file the above

styled complaint.

          COUNT I —OUTRAGE, FALSE IMPRISONMENT, FALSE ARREST

       12. The Plaintiffs incorporates by reference, as if fully set out herein, paragraphs

I through 9 above.

       13. The actions of the Defendants were extreme, outrageous, and beyond all

possible bounds of decency so as to cause extreme physical, emotional distress.

       14. Plaintiffs suffered damages as a proximate result of these violations that were

caused by a governmental policy and/or custom and/or a failure to adequately train
      Case 2:17-cv-00044-ECM-SMD Document 1 Filed 01/23/17 Page 5 of 7


caused by a deliberate indifference to the Plaintiffs' rights and/or by a deliberate

indifference to these violations. The City of Montgomery failed to properly train its

supervisory police officers. Additionally, the City of Montgomery failed to properly train its

police officers in the procedures to be used in arresting individuals. The City of

Montgomery maintains a policy or custom of failing to adequately train its officers. The

City of Montgomery maintains a policy or custom of allowing its officers to arrest without

warrants. The City of Montgomery maintains a policy or custom of allowing officers to

operate without adequate training or supervision. Such policies, customs and failures by

the City of Birmingham amounts to violations of 42 U.S.C. § 1983.

       WHEREFORE, PREMISES CONSIDERED, the Plaintiffs demand judgment in

both compensatory and punitive damages against each Defendant, jointly and severally,

in the sum of Two Hundred Fifty Thousand Dollars ($250,000.00) together with interest

and the costs of this proceeding.

                       COUNT II— DELIBERATE INDIFFERENCE

       15. The Plaintiffs incorporate by reference, as if fully set out herein, paragraphs I

through 12 above.

       16. This cause of action arises under the authority vested in the Court by virtue of

42 U.S.C. § 1983.

       17. The City of Montgomery, Alabama, is a municipal corporation existing by virtue

of the laws of the State of Alabama, and as a body corporate subject to suit in this court.

       18. Under federal law, the Plaintiffs were protected by the United States

Constitution from deliberate indifferences to their safety by the agents and/or employees

of the City of Montgomery charged with said duties.
      Case 2:17-cv-00044-ECM-SMD Document 1 Filed 01/23/17 Page 6 of 7


       19. Because of the wanton and intentional character of the actions of each

individual Defendant, the Plaintiffs are entitled to punitive damages under federal law from

each individually named defendant.

       20. Plaintiffs suffered damages as a proximate result of these violations that were

caused by a governmental policy and/or custom and/or a failure to adequately train

caused by a deliberate indifference to the Plaintiffs' rights and/or by a deliberate

indifference to these violations. The City of Montgomery failed to properly train its

supervisory police officers. Additionally, the City of Montgomery failed to properly train its

police officers in the procedures to be used in arresting individuals. The City of

Montgomery maintains a policy or custom of failing to adequately train its officers. The

City of Montgomery maintains a policy or custom of allowing its officers to use excessive

force. The City of Montgomery maintains a policy or custom of allowing officers to operate

without adequate training or supervision. Such policies, customs and failures by the City

of Montgomery amounts to violations of 42 U.S.C. § 1983.

       21. The actions and inactions of each individually named Defendant in their

individual and official capacities, constitute such deliberate indifference to the Plaintiffs,

they were deprived of their rights, as protected by the Fourth and Fourteenth

Amendments of the United States Constitution.

       The force utilized by the Defendant was negligent/excessive and thus constituted

unreasonable seizure of Plaintiffs in violation of the Fourth and Fourteenth Amendments

to the U.S. Constitution.
      Case 2:17-cv-00044-ECM-SMD Document 1 Filed 01/23/17 Page 7 of 7


       The Defendant's action constituted an unlawful deprivation of the Plaintiffs liberty

without due process in violation of the Fourteenth Amendment to the U.S. Constitution.

       WHEREFORE, PREMISES CONSIDERED, the Plaintiffs demand judgment

against each Defendant in both compensatory and punitive damages, costs and attorney

fees and award all other proper relief, jointly and severally, for the pain, humiliation, and

suffering they endured in the amount of Two Hundred Fifty Thousand Dollars

($250,000.00).

                                                  Res cifully submitted,



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PLAINTIFF DEMANDS A TRIAL BY STRUCK JUFY                    ^0
Defendant's Address
                                                  1^y r   C. Appefi


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Officer Jeremy Browning
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Montgomery, AL 36204
